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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                   )
 LIQUIDPIXELS, INC.,                               )
                                                   )
                  Plaintiff,                       ) Case No. 1:19-cv-11700-DCF
                                                   )
        v.                                         )
                                                   )
 HERITAGE AUCTIONS, INC.,                          ) STIPULATED PROTECTIVE ORDER
                                                   )
                                                   )
                  Defendant.                       )
                                                   )

Hon. DEBRA C. FREEMAN, United States Magistrate Judge.

            The Court having found that good cause exists for issuance of an appropriately tailored

  confidentiality order governing the pre-trial phase of this action, and the parties having

  stipulated to the following provisions, it is hereby ORDERED that any person subject to this

  Order – including without limitation the parties to this action, their attorneys, representatives,

  agents, experts and consultants, acting as such, all third parties providing discovery in this

  action, and all other interested persons with actual or constructive notice of this Order shall

  adhere to the following terms, upon pain of contempt:

  Discovery Materials May Be Designated as Confidential

       1.        Any person subject to this Order who receives from any other person any

                 “Discovery Material” (i.e., information of any kind provided in the course of

                 discovery in this action) that is designated as “Confidential” pursuant to the terms

                 of this Order shall not disclose such Confidential Discovery Material to anyone

                 else except as expressly permitted hereunder.

       2.        The person producing Discovery Material may designate as “Confidential” any

                 portion thereof that contains a person’s or party’s trade secret, or non-public
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     business, commercial, financial, or personal information, the public disclosure of

     which is either restricted by law or would likely, in the good faith opinion of the

     producing person, seriously harm the producing person’s business, commercial,

     financial, or personal interests or cause the producing person to violate his, her, or

     its privacy or confidentiality obligations to others. Where the confidential portion

     is reasonably separable from the non-confidential portion, via redaction or

     otherwise, only the confidential portion shall be so designated.

3.   With respect to the confidential portion of any Discovery Material other than

     deposition transcripts and exhibits, the producing person or that person’s counsel

     may designate such portion as “Confidential” by stamping or otherwise clearly

     marking as “Confidential” the document or protected portion in a manner that

     will not interfere with legibility or audibility. Deposition testimony may be

     designated as “Confidential” either on the record during the deposition or in

     writing within thirty (30) business days of receipt of the transcript by specifying

     the pages and lines of the transcript that are to be designated “Confidential” in

     which case all counsel receiving the transcript will be responsible for marking the

     copies of the designated transcript in their possession or under their control as

     directed by the producing party or that person’s counsel. During the 30-day

     period following a deposition, all Parties will treat the entire deposition transcript

     as if it had been designated “Confidential.” If so designated, the final transcript

     of the designated testimony shall be bound in a separate volume and marked

     “Confidential Information Governed by Protective Order” by the reporter.




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     4.         If at any time prior to the trial of this action, a producing person realizes that some

                portion of Discovery Material that that person previously produced without

                limitation should be designated as “Confidential,” the producing person may so

                designate that portion by promptly notifying all parties in writing. Such

                designated portion of the Discovery Material will thereafter be treated as

                Confidential under the terms of this Order. In addition, the producing person shall

                provide each other party with replacement versions of such Discovery Material

                that bears the “Confidential” designation within two (2) business days of

                providing such notice.

Who May Receive Confidential Materials

     5.         No person subject to this Order, other than the producing person, shall disclose

                any Confidential Discovery Material to any other person whomsoever, except to:

          (a)       no more than three representatives of the Receiving Party who are officers or

                    employees of the Receiving Party to whom disclosure is reasonably necessary

                    for this case, who have first executed a Non-Disclosure Agreement in the

                    form annexed hereto;

          (b)       counsel retained specifically for this action, including any paralegal, clerical

                    or other assistant employed by such counsel and assigned specifically to work

                    on this action;

          (c)       as to any document, its author, its addressee, and any other person shown on

                    the face of the document as having received a copy;

          (d)       any witness who counsel for a party in good faith believes may be called to

                    testify at trial or deposition in this action, provided such person has first




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               executed a Non-Disclosure Agreement in the form annexed hereto and has

               been identified to the other party at least five (5) business days prior to the

               disclosure of any Confidential Discovery Material;

     (e)       any person retained by a party to serve as an expert witness or consultant or

               otherwise provide specialized advice to counsel in connection with this action,

               provided such person has first executed a Non-Disclosure Agreement in the

               form annexed hereto and has been identified to the other party at least five (5)

               business days prior to the disclosure of any Confidential Discovery Material;

     (f)       stenographers and video technicians engaged to transcribe or record

               depositions conducted in this action;

     (g)       independent photocopying, graphic production services, or other litigation

               support services employed by the parties or their counsel to assist in this

               action, including computer service personnel performing duties in relation to a

               computerized litigation system;

     (h)       the Court and its staff, including any mediator or arbitrator that the Parties

               engage in this matter or that this Court appoints; and

     (i)       any other person whom the producing person, or other person designating the

               Discovery Material “Confidential,” agrees in writing may have access to such

               Confidential Discovery Material.

6.         Prior to the disclosure of any Confidential Discovery Material to any person referred

           to in subparagraphs 5(a), 5(d) or 5(e) above, such person shall be provided by

           counsel with a copy of this Protective Order and shall sign a Non-Disclosure

           Agreement, in the form annexed hereto, stating that that person has read this Order



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           and agrees to be bound by its terms. Counsel shall retain each signed Non-

           Disclosure Agreement, hold it in escrow, and produce it to opposing counsel either

           prior to such person being permitted to testify (at deposition or trial) or at the

           conclusion of the case, whichever comes first.

7.         A Producing Party may designate its Confidential Discovery Material that includes

           or discloses computer source code, object code, code development specifications,

           or computer instructions as “Confidential Source Code Material.”                All the

           provisions of this Protective Order that are applicable to Confidential Discovery

           Material are also applicable to Confidential Source Code Material, but Confidential

           Source Code Material is subject to an additional restriction before it may be

           disclosing to a Receiving Party’s employee under subparagraph 5(a), as follows:

     (a)       Before a Receiving Party may disclose any of the Producing Party’s

               Confidential Source Code Material to any employee designated under

               subparagraph 5(a) above, the Receiving Party must first identify that

               employee, that employee’s title and employment description, including

               whether the employee is currently or has ever been involved in software

               development for the Receiving Party, to the Producing Party, and deliver a

               copy of that employee’s signed Non-Disclosure Agreement to the Producing

               Party; and

     (b)       If the Producing Party objects to such disclosure, the Producing Party shall

               provide an explanation of the basis of its objection(s) in writing to the

               Receiving Party within three (3) business days after receipt of notice. The

               Confidential Source Code Material shall not be disclosed during the three (3)




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         day objection period. Upon receiving an objection from the Producing Party,

         the parties shall meet and confer regarding the objection within three (3)

         business days following receipt of the objection, and no Confidential Source

         Code material shall be disclosed until the parties meet and confer. If the

         above meet and confer process does not result in an agreed resolution, the

         Producing Party may, within ten (10) days following the meet and confer,

         move for a determination by the Court that disclosure should not be made to

         the designated employee. If a motion is brought, the Confidential Source

         Code Material shall not be disclosed until the motion has been resolved by the

         court. If no motion is brought by the Producing Party within ten (10) days

         following the meet and confer, disclosure to the designated employee shall be

         permitted and the Producing Party’s objections shall be deemed waived.

8.   Any Party who requests additional limits on disclosure, such as limiting disclosure

     to “Attorneys’ Eyes Only,” may at any time before the trial of this action serve

     upon counsel for the recipient Party a written notice stating with particularity the

     grounds of the request. If the Parties cannot reach agreement promptly, counsel for

     all affected Parties will address their dispute to this Court in accordance with

     Magistrate Judge Freeman’s Individual Practices.

9.   Any Party may, on motion or other request to the Court and for good cause

     shown, seek a modification of this Order and, by its agreement to this Order, no

     Party shall be deemed to have waived the right to modifications later sought by

     such Party. No modification in this Order that adversely affects the protection

     of any document produced or given by a non-party to this action shall be made




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              without giving to that non-party to this action appropriate notice and

              opportunity to be heard by the Court.

Filing Confidential Materials in this Action

       10.   Any person who either objects to any designation of confidentiality, or who, by

              contrast, requests still further limits on disclosure (such as “attorneys’ eyes only,”

              reserved for extraordinary circumstances), may at any time prior to the trial of this

              action serve upon the designating person and all other parties a written notice

              stating with particularity the grounds of the objection or request. If agreement

              cannot be reached promptly, counsel for all affected persons shall request a joint

              telephone call with the Court to obtain a ruling.

       11.   Notwithstanding the designation of material as “Confidential” in discovery, there

              is no presumption that such Confidential Discovery Material will be filed with the

              Court under seal. The parties shall follow § III, Electronic Filing Under Seal in

              Civil and Miscellaneous Cases, of Magistrate Judge Freeman’s Individual

              Practices.

       12.   All persons are hereby placed on notice that the Court is unlikely to seal or

              otherwise afford confidential treatment to any Discovery Material introduced in

              evidence at trial, even if such material was previously designated as Confidential

              or sealed during pretrial proceedings.

       13.   Each person who has access to Confidential Discovery Material shall take all due

              precautions to prevent the unauthorized or inadvertent disclosure of such material.

Inadvertent Disclosure of Privileged Materials

       14.   If, in connection with this litigation, and despite having taken reasonable steps to

              prevent the disclosure of information that it claims is subject to a claim of attorney-


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      client privilege or attorney work product, a producing person inadvertently

      discloses information subject to a claim of attorney-client privilege or attorney

      work product protection (“Inadvertently Disclosed Information”), such disclosure,

      in itself, shall not constitute or be deemed a waiver or forfeiture of any claim of

      privilege or work product protection with respect to the Inadvertently Disclosed

      Information and its subject matter if a request for return of such inadvertently or

      unintentionally produced Discovery Material is made promptly after the producing

      party learns of its production..

15.   If a disclosing person makes a claim of inadvertent disclosure, all receiving persons

      shall, within five (5) business days, return or destroy all copies of the Inadvertently

      Disclosed Information, and provide a certification of counsel that all such

      information has been returned or destroyed.

16.   Within five (5) business days of the notification that such Inadvertently Disclosed

      Information has been returned or destroyed, the disclosing person shall produce a

      privilege log with respect to the Inadvertently Disclosed Information.

17.   The receiving party may challenge the producing party’s claim of privilege or

      protection. The receiving party shall not use or disclose such Discovery Material

      until the claim is resolved. The producing party must preserve such Discovery

      Material until the claim is resolved. If a receiving person thereafter moves the Court

      for an order compelling production of the Inadvertently Disclosed Information, that

      motion shall be filed under seal, and shall not assert as a ground for entering such

      an order the mere fact of the inadvertent production. The disclosing person retains

      the burden of establishing the privileged or protected nature of any Inadvertently




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             Disclosed Information. Nothing in this Order shall limit the right of any party to

             request an in camera review of the Inadvertently Disclosed Information.

      18.    Notwithstanding the foregoing, if documents, information or other material subject

             to a claim of attorney-client privilege, work product doctrine, or other privilege,

             doctrine, or immunity is inadvertently or unintentionally produced, pursuant to

             Federal Rule of Civil Procedure 502, such production shall not prejudice or

             otherwise constitute a waiver of, or estoppel as to, any such privilege, doctrine, or

             immunity in this or any other federal or state proceeding. In the case of ESI,

             electronic key word searching to identify privileged documents constitutes

             reasonable steps to prevent disclosure pursuant to Federal Rule of Evidence

             502(b)(2). In addition, no Party is required to log privileged materials generated

             after the filing of the complaint in this Action.

Termination of the Litigation

      19.    This Protective Order shall survive the termination of the litigation. Within 30 days

             of the final disposition of this action, including all appeals, all Confidential

             Discovery Material and all copies thereof, shall be promptly returned to the

             producing person, or, upon permission of the producing person, destroyed.

      20.    During the pendency of this case only, this Court shall retain jurisdiction over all

             persons subject to this Order to the extent necessary to enforce any obligations

             arising hereunder or to impose sanctions for any contempt thereof.


SO STIPULATED.




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Dated: October 30, 2020

RUSKIN MOSCOU FALTISCHEK, P.C.               LAW OFFICES OF CAMERON STRACHER

  /s/ Michael A.H. Schoenberg                  /s/ Cameron Stracher
John A. DeMaro                               Cameron Stracher
Michael A.H. Schoenberg                      51 Astor Place, 9th Floor
East Tower, 15th Floor                       New York, NY 10003
1425 RXR Plaza                               (646) 992-3850
Uniondale, New York 11556                    cam@stracherlaw.com
(516) 663-6600                               Attorney for Defendant Heritage Auctions, Inc.
jdemaro@rmfpc.com
mschoenberg@rmfpc.com

-and-

DAVIDSON BERQUIST JACKSON &
GOWDEY, LLP

  /s/ Wayne M. Helge
Wayne M. Helge
(admitted Pro Hac Vice)
Aldo Noto
(pending Pro Hac Vice admission)
Alan A.Wright
(pending Pro Hac Vice admission)
8300 Greensboro Drive, Suite 500
McLean, VA 22102
Tel: (571) 765-7700
whelge@dbjg.com
anoto@dbjg.com
awright@dbjg.com

Attorneys for Plaintiff LiquidPixels, Inc.


                                                   SO ORDERED.



           November 2
Dated: _________________, 2020                     ________________________________
                                                   DEBRA C.--
                                                            -- FREEMAN
                                                   United States Magistrate Judge




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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                 )
  LIQUIDPIXELS, INC.,                            )
                                                 )
                Plaintiff,                       ) Case No. 1:19-cv-11700-DCF
                                                 )
          v.                                     )
                                                 )
  HERITAGE AUCTIONS, INC.,                       ) NON-DISCLOSURE AGREEMENT
                                                 )
                                                 )
                Defendant.                       )
                                                 )


         I,                                  , acknowledge that I have read and understand the

Protective Order in this action governing the non-disclosure of those portions of Discovery

Material that have been designated as Confidential. I agree that I will not disclose such

Confidential Discovery Material to anyone other than for purposes of this litigation, and I

understand that I cannot disclose such Confidential Discovery Material to any person who has not

been authorized to receive it under the Protective Order. I further agree that I will not use such

Confidential Discovery Material for any purpose other than this litigation, and that at the

conclusion of the litigation I will return all discovery information to the party or attorney from

whom I received it. By acknowledging these obligations under the Protective Order, I understand

that I am submitting myself to the jurisdiction of the United States District Court for the Southern

District of New York for the purpose of any issue or dispute arising hereunder and that my willful

violation of any term of the Protective Order could subject me to punishment for contempt of

Court.


Dated: _____________________                  _____________________________________
                                              [Signature]
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed with the Court

through the CM/ECF electronic filing system, which will automatically serve electronic notice of

the same on all counsel of record who are deemed to have consented to electronic service.



Dated: October 30, 2020                              /s/ Wayne M. Helge
                                                     Wayne M. Helge
